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AO 442 (Rev. 11/11) Arrest Warrant



                                         UNITED STATES DISTRICT COURT                                                        April 5, 2021
                                                                     for the

                                                            District of

                      United States of America
                                 v.                                    )
                                                                       )        Case No.
                Andrew Jackson Morgan, Jr.
                                                                       )
                                                                       )
                                                                       )
                                                                       )
                             Defendant
                                                                                                               1:21-MJ-261-SH

                                                        ARREST WARRANT
To:       Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                                      Andrew Jackson Morgan, Jr.                                               ,
who is accused of an offense or violation based on the following document filed with the court:

      Indictment               Superseding Indictment            Information          Superseding Information                Complaint
      Probation Violation Petition               Supervised Release Violation Petition          Violation Notice             Order of the Court

This offense is briefly described as follows:

 18 U.S.C. § 1752(a)(1) and (2)- Knowingly Entering or Remaining in any Restricted Building or Grounds
 Without Lawful Authority;
 40 U.S.C. § 5104(e)(2) (D) and (G) - Violent Entry and Disorderly Conduct on Capitol Grounds;
 18 U.S.C. § 1512(c)(2) - Obstruction of and Official Proceeding;
 18 U.S.C. § 2 Aided and Abetted.

Date:           04/02/2021
                                                                                              Issuing officers signature

City and state:                                                                Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                Printed name and title


                                                                     Return

          This warrant was received on (date)                              , and the person was arrested on (date)
at (city and state)                                              .


Date:
                                                                                             Arresting officers signature



                                                                                                Printed name and title
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AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                              for the
                                                      District of

                  United States of America                      )
                             v.                                 )
                                                                )       Case No.
              Andrew Jackson Morgan, Jr.
                                                                )
                   DOB: XXXXXX                                  )
                                                                )
                                                                                                         1:21-MJ-261-SH
                                                                )
                          Defendant(s)


                                             CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                 January 6, 2021              in the county of                              in the
                                                             , the defendant(s) violated:

            Code Section                                                  Offense Description
        18 U.S.C. § 1752(a)(1) and (2)- Knowingly Entering or Remaining in any Restricted Building or
        Grounds Without Lawful Authority,
        40 U.S.C. § 5104(e)(2) (D) and (G) - Violent Entry and Disorderly Conduct on Capitol Grounds,
        18 U.S.C. § 1512(c)(2) - Obstruction of and Official Proceeding,
        18 U.S.C. § 2 Aided and Abetted.


         This criminal complaint is based on these facts:




             Continued on the attached sheet.


                                                                                            Complainants signature

                                                                                   Edward Duffer, Special Agent
                                                                                            Printed name and title




Date:             04/02/2021
                                                                                              Judges signature

City and state:                                                            Robin M. Meriweather, U.S. Magistrate Judge
                                                                                            Printed name and title
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                                   STATEMENT OF FACTS
        Your affiant, Edward Duffer, is a Special Agent with the Federal Bureau of Investigation
(FBI). I am assigned to the Central Texas Joint Terrorism Task Force. In my duties as a special
agent, I have led arrests on subjects with known racially motivated violent extremist tendencies,
as well as those with militia-based ideologies. I have authored search warrant and arrest warrant
affidavits, and participated in the execution of such warrants, leading to the seizure of controlled
substances, firearms, records, cellular telephones, and other evidence. Additionally, I have
conducted interviews and interrogations of individuals ranging from victims to violent gang
members. I have also participated in investigations of those with links to domestic terrorism. I
am experienced in the methods used by homegrown violent extremists (HVEs), among others, to
socially engineer and manipulate the unsuspecting in order to achieve their goals. Currently, I am
also tasked with investigating criminal activity in and around the Capitol grounds on January 6,
2021. As a Special Agent, I am authorized by law or by a Government agency to engage in or
supervise the prevention, detention, investigation, or prosecution of a violation of Federal
criminal laws.
       Unless otherwise stated, the information in this Affidavit is either personally known to
me, has been provided to me by other individuals, or is based on a review of various documents,
records, and reports. Because this Affidavit is submitted for the limited purpose of establishing
probable cause to support an application for an arrest warrant, it does not contain every fact
known by me or the United States. The dates listed in this Affidavit should be read as “on or
about” dates.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around
the U.S. Capitol include permanent and temporary security barriers and posts manned by U.S.
Capitol Police. Only authorized people with appropriate identification were allowed access
inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also
closed to members of the public.
        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate
were meeting in separate chambers of the United States Capitol to certify the vote count of the
Electoral College of the 2020 Presidential Election, which had taken place on November 3, 2020.
The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30
p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President Mike Pence was present and presiding, first in the joint session, and then in the
Senate chamber.
        As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior
of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the
crowd away from the Capitol building and the proceedings underway inside.
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        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however,
shortly around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including
by breaking windows and by assaulting members of the U.S. Capitol Police, as others in the
crowd encouraged and assisted those acts.
        Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol
building without authority to be there.
        As detailed below, during the course of the investigation into the events of January 6,
2021, law enforcement learned that ANDREW JACKSON MORGAN, JR. (MORGAN) of
Maxwell, Texas traveled to the District of Columbia to participate in a rally and protest at the
U.S. Capitol and gained entry inside the U.S. Capitol on January 6, 2021.
.       On or about January 19, 2021, a report was filed on the FBI tip line referencing a video
maintained on Archive.org. The link to this video was https://archive.org/details/capitol-
eviction-notice-opart-2". A review of this video depicts a male, claiming the name of “Andrew”
of “Austin, Texas” and his involvement in the riots at the U.S. Capitol on January 6, 2021. As
discussed below, I have identified this person as MORGAN. In the above described video,
MORGAN, while filming other protestors, can be heard encouraging them to make entry into
one of the U.S. Capitol entrances. All of MORGAN’s statements, yelling, conduct, and
encouragement is shown in MORGAN’s aforementioned self-recorded video “capitol-eviction-
notice-opart-2.” The references, with following screen shots show the approximate place, with
time stamp, in MORGAN’s video where the conduct and/or statements are made. Early in the
video, MORGAN points to the crowd gathered outside the U.S. Capitol Building and screams
words to the effect that we want into our house. See Figure One.
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                                      Figure One
A short time later, MORGAN can be heard yelling words to the effect of “I want my bullet and
goin in my house” as he makes his way up a wide stone railing. See Figure Two.




                                      Figure Two
         Once entry is made onto the steps, tunnel, and entryway of the U.S. Capitol by
MORGAN, MORGAN, makes temporary entry into the U.S. Capitol but the protestors are met
by U.S. Capitol police officers in riot gear and pushed back out of the entrance into the tunnel
leading to the entrance. Thereafter, a stand-off occurs between the U.S. Capitol police officers
and the protestors wherein the protestors, amongst other actions, attempt to push back into the
entrance, attempt to strike the officers with batons, and utilize riot shields against the officers.
During the course of the stand-off, MORGAN can be heard encouraging the other protestors in
their attempts to make re-entry. MORGAN can be heard encouraging the crowd to take over the
building saying "I want that door right there," "I want my bullet! Give me my bullet! Give me
my tear gas" as he walks towards the west tunnel entrance. See Figure Three and Four.
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                                  Figure Three




                                  Figure Four
      At one point when the rioters are pushed back, MORGAN can be heard yelling we need
more people. See capitol-eviction-notice-opart-2, at approximately 8:39 Figure Five.




                                  Figure Five
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        At another point, MORGAN yells words to the effect of “send helmets forward” when
rioters are fighting with law-enforcement. See Figure Six.




                                      Figure Six
       At another point, MORGAN states words to the effect of “what’s happening is – is that
people are pushing in - getting their bullet – crack on the head . . rotating.” See Figure Seven.




                                      Figure Seven
       At another point, MORGAN states words to the effect of “fresh people-fresh people, are
we in?” See Figure Eight.
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                                      Figure Eight
       At one point, MORGAN turns the camera and takes a video of himself during this event.
He is wearing a "Harley Davidson" beanie, gray or black jacket, large frame prescription glasses,
a lanyard with a ”media” card, and an ear bud. The reporting party to the FBI tip line noted that
Andrew Morgan (MORGAN) a.k.a. Political Trance Tribune, phone number 512-649-5109,
filmed and originally uploaded the above video before he made it private.




                                      Figure Nine
        I have fully identified “Andrew” of “Austin, Texas” as Andrew Jackson MORGAN, Jr.,
who resides in Maxwell, TX. Maxwell is located just east of San Marcos, TX. MORGAN is the
content creator of a You Tube video channel called “Political Trance Tribune.” In addition, a
review of available records such as a motor vehicle photograph and other identifying
information, records, and photographs confirms that the individual filming the above-referenced
footage at the U.S. Capitol on January 6, 2021 is MORGAN. Your affiant was able to view the
video titled “capitol-eviction-notice-opart-2” on a publicly accessible website. In a review of the
videos uploaded by MORGAN on You Tube, he presents himself as a law enforcement
"auditor" and will routinely video tape police officers as they are conducting traffic stops and/or
other law enforcement duties in the public.
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        On March 10, 2021, your affiant participated in the execution of a search warrant at
MORGAN’s residence in Maxwell, Texas. MORGAN said that he would tell the Agents “his
story” as he had already posted "his story" on YouTube for the benefit of the FBI. MORGAN
said that he went to Washington D.C. for the events of January 6, 2021 because “something
unprecedented” was going to occur. MORGAN wanted to cover the events because he is an
independent journalist and a civil rights auditor.
       MORGAN was shown a picture of himself with the Capitol in the background.
MORGAN stated this was him near the Capitol and he is wearing a Harley Davidson skull cap
and press access lanyard. He obtained his press card from another civil rights auditor in
Michigan who runs a group called the Michigan Constitutional Crusader. He was shown a
second picture of himself with his hand on his mouth. He stated this picture was him near the
archway of the Capitol when the crowd pushed up against him and shoved him into the wall.

        MORGAN identified the above-referenced video footage as footage he recorded and
uploaded. MORGAN stated he can be heard yelling send helmets forward at one point in
the video, but he is repeating this after someone else yells it. He said he was wearing his press
card so people know who he is. MORGAN noted that at about 17:49 on the video he can be
heard saying, “Are we in?” and there is a good picture of the guy with the white/gray hair who he
claims appeared to be in charge.

        MORGAN reiterated he was there as a “chameleon.” He said he wishes now that he had
not said the things that he did, but just filmed the events. MORGAN said that he is concerned
that the government has been hijacked. He is concerned why Mike Lindell's video about election
fraud was banned. He is like-minded with the Founder's of the country and with QAnon. He has
come to realize that the people in power keep power through child pedophilia. They use
child pedophilia to control the masses.

        Officer Brandon Hughes of the Conroe Police Department was also interviewed and
identified MORGAN as the man depicted in the video. Officer Hughes recently had contact
with MORGAN. Shown photos of MORGAN at the Capitol on January 6, 2021, Officer
Hughes said “Yes sir. I recognize that person to be Andrew Morgan.”

        FBI agents also spoke with MORGAN’s wife. FBI agents showed MORGAN’s wife a
sanitized photograph depicting MORGAN in the west tunnel of the U.S. Capitol, Washington
D.C. on January 6, 2021. MORGAN’s wife confirmed MORGAN’s identity in the photograph.
She said that MORGAN drove to the Capitol with a group of political YouTube auditors. She
said they sometimes refer to themselves as independent patriots.

         Based on the foregoing, your affiant submits that there is probable cause to believe that
ANDREW JACKSON MORGAN, JR. violated 18 U.S.C. §§ 1752(a)(1) and (2), which make
it a crime to (1) knowingly enter or remain in any restricted building or grounds without lawful
authority to do so; and (2) knowingly, and with intent to impede or disrupt the orderly conduct of
Government business or official functions, engage in disorderly or disruptive conduct in, or
within such proximity to, any restricted building or grounds when, or so that, such conduct, in
fact, impedes or disrupts the orderly conduct of Government business or official functions or
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attempts or conspires to do so. For purposes of Section 1752, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be
temporarily visiting; or any building or grounds so restricted in conjunction with an event
designated as a special event of national significance.
       Your affiant submits there is also probable cause to believe that ANDREW JACKSON
MORGAN, JR. violated 18 U.S.C. § 1512(c)(2), which make it a crime to corruptly (2)
otherwise obstruct, influence, or impede any official proceeding, or attempts to do so.
        Your affiant submits there is also probable cause to believe that ANDREW JACKSON
MORGAN, JR. violated 40 U.S.C. §§ 5104(e)(2)(D) and (G), which make it a crime to
willfully and knowingly (D) engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either
House of Congress, and (G) parade, demonstrate, or picket in any of the Capitol Buildings.
       Finally, your affiant submits that there is also probable cause to believe that ANDREW
JACKSON MORGAN, JR. aided and abetted the above-referenced offenses in violation of 18
U.S.C. § 2.




                                             _________________________________
                                             EDWARD DUFFER
                                             SPECIAL AGENT, FBI

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 2nd day of April 2021.

                                             ___________________________________
                                             HON. ROBIN M. MERIWEATHER
                                             U.S. MAGISTRATE JUDGE
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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :       Case No:
                                               :
                v.                             :       VIOLATIONS:
                                               :
ANDREW JACKSON MORGAN, JR.,                    :       18 U.S.C. § 1512(c),
                                               :       (Obstruction of an Official Proceeding)
                                               :
                                               :       18 U.S.C. § 1752(a),
                                               :       (Entering and Remaining in a Building)
                Defendant.                     :
                                               :       40 U.S.C. § 5104(e)(2)
                                               :       (Violent Entry or Disorderly Conduct)
                                               :
                                               :       18 U.S.C. § 2
                                               :       (Aid and Abet)


                                            ORDER

       This matter having come before the Court pursuant to the application of the United States

 to seal criminal complaint, the Court finds that, because of such reasonable grounds to believe

 the disclosure will result in flight from prosecution, destruction of or tampering with evidence,

  and serious jeopardy to the investigation, the United States has established that a compelling

                     governmental interest exists to justify the requested sealing.

       1.       IT IS THEREFORE ORDERED that the application is hereby GRANTED, and

that the affidavit in support of criminal complaint and other related materials, the instant

application to seal, and this Order are sealed until the arrest warrant is executed.

       2.       IT IS FURTHER ORDERED that the Clerk’s office shall delay any entry on the

public docket of the arrest warrant until it is executed.



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Date: April 2, 2021                       ___________________________________
                                          ROBIN M. MERIWEATHER
                                          UNITED STATES MAGISTRATE JUDGE




                                      2
